                                               UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF TENNESSEE
                                                    NASHVILLE DIVISION

 UNITED STATES OF AMERICA                                                      )
 ex rel. LIEBMAN, et al,                                                       )
                                                                               )           Case No. 3:17-CV-00902
          Plaintiffs-Relators,                                                 )
                                                                               )           JUDGE CAMPBELL
                v.                                                             )           MAGISTRATE JUDGE HOLMES
                                                                               )
 METHODIST LE BONHEUR                                                          )
 HEALTHCARE, et al.,                                                           )
                                                                               )
          Defendants.                                                          )


     THE UNITED STATES’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
     MOTION TO EXCLUDE PROPOSED TESTIMONY OF EXPERT LUCY CARTER

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                                    I.      INTRODUCTION

        The United States submits this opposition to the Methodist Defendants’ motion to exclude

the United States’ expert Lucy Carter’s proposed testimony. See ECF No. 324. Methodist

challenges Ms. Carter’s three major overall opinions: (1) “Methodist and [West] business

arrangements were outside the course of normal healthcare industry practice and the parties did

not materially comply with the terms and requirements of the business integration agreements;”

(2) “Methodist made excessive payments to [West] that were not in compliance with the integration

agreements and were outside the course of normal healthcare industry practice;” and (3)

“Methodist allowed [West] to continue to operate businesses in Methodist’s space outside the

terms of the agreements and the course of normal industry practice.” See ECF No. 324 at 1.

        Methodist argues that “Ms. Carter’s Opinions 1-3 should be struck because (1) she is

unqualified to opine on the ‘course of normal healthcare industry practice’ for a multi-hospital

affiliation with a large oncology physician practice involving a system-wide oncology service line

at multiple hospitals and outpatient locations and to opine on areas of fair market valuation and

oncology service line practice outside of her purported expertise; (2) she impermissibly opines on

her interpretation of contractual provisions and obligations of parties; and (3) her opinions are not

the product of reliable principles and methods and thus would not be helpful to a factfinder.” Id.

at 2.

        As discussed below, Ms. Carter is a highly qualified expert under the standards established

by the Sixth Circuit, she is not offering opinions regarding the legal effect of any contracts or

contract interpretation, and her opinions are based on the methodology endorsed by Methodist’s

valuation consultants and the conditions and terms of the contracts between Methodist and West.




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Even if the Court should give credence to any of Methodist’s concerns, such challenges would

bear on the weight of the evidence for the jury’s determination but not its threshold admissibility.

            II.      RESPONSE TO METHODIST’S “FACTUAL BACKGROUND”

       Methodist includes a long factual background that they present as undisputed facts about

the deal. In actuality, the United States has disputed nearly all of these so-called undisputed facts.

See ECF No. 345. Further, Methodist’s facts include references to advice of counsel on the deal.

For the reasons addressed in the United States’ motion to strike and/or preclude the advice of

counsel defense in summary judgment filings, the Court should similarly disregard those

allegations here. See ECF Nos. 343-44.

                  III.   SUMMARY OF LUCY CARTER’S QUALIFICATIONS

       Ms. Carter has 46 years of experience in public accounting, specializing in healthcare

including hospital acquisitions of physician practices and physician compensation. ECF No. 324-

1 (Carter Report) at 11-12. Since 1977, she has provided extensive tax, audit, management

consulting, compliance, reimbursement, and physician compensation services primarily to hospital

systems and physician practices. Id.

       She is currently the Chief Financial Officer (“CFO”) of Tennessee Orthopaedic Alliance

effective December 20, 2022. Id. From 2015 through 2022, she was a partner and Practice Leader

of the Healthcare Industry Group at KraftCPAs, PLLC, one of the largest certified public

accounting firms in Tennessee with more than 275 employees and offices in Nashville,

Chattanooga, Columbia, and Lebanon.

       Ms. Carter graduated from the University of Tennessee in 1977 with a degree in Business

Administration/ Accounting and obtained her CPA Certificate in March of 1979. Id. at 11.




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        She is the co-author of the books AICPA Guide to Medical, Dental, and Other Healthcare

Practices and Physician's Compensation: Measurement, Benchmarking, and Implementation and

numerous articles appearing in The Journal of Accountancy, Healthcare Financial Management,

and Nashville Medical News. 1 She has been recognized as one of the area’s Top 100 Health Care

Leaders by the Nashville Business Journal.

                                        IV.     ARGUMENT

     A. Overview of Admissibility of Expert Testimony

        Federal Rule of Evidence 702 and the Supreme Court’s analysis in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), govern the admissibility of expert testimony.

Under Rule 702, “a proposed expert's opinion is admissible, at the discretion of the trial court, if

the opinion satisfies three requirements. First, the witness must be qualified by ‘knowledge, skill,

experience, training, or education.’ Second, the testimony must be relevant, meaning that it 'will

assist the trier of fact to understand the evidence or to determine a fact in issue.’ Third, the

testimony must be reliable.” In re Scrap Metal Antitrust Litig., 527 F.3d 517, 528-29 (6th Cir.

2008) (citations omitted) (quoting Fed. R. Evid. 702).

        “The Rule 702 inquiry is a flexible one and its focus must be solely on principles and

methodology, not on the conclusions they generate.” Superior Prod. P’ship, 784 F.3d at 323

(internal citations omitted) (quoting Lee v. Smith & Wesson Corp., 760 F.3d 523, 526 (6th Cir.

2014) (quoting Daubert, 509 U.S. at 595)). “[A] determination that proffered expert testimony is

reliable does not indicate, in any way, the correctness or truthfulness of such an opinion.” In re

Scrap Metal, 527 F.3d 517, 529 (6th Cir. 2008). A “court must be sure not ‘to exclude an expert’s



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       Ms. Carter’s CV lists publications within the last ten years. ECF No. 324-1 at 12. Her
publications are more extensive over her 46-year career.


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testimony on the ground that the court believes one version of the facts and not the other.’” Id.

(quoting Fed. R. Evid. 702 advisory committee’s notes, 2000 amend.)

       “The task for the district court in deciding whether an expert's opinion is reliable is not to

determine whether it is correct, but rather to determine whether it rests upon a reliable foundation,

as opposed to, say, unsupported speculation.” Id. at 529-30 (6th Cir. 2008). “An expert's opinion,

where based on assumed facts, must find some support for those assumptions in the record.

However, mere ‘weaknesses in the factual basis of an expert witness’ opinion . . . bear on the

weight of the evidence rather than on its admissibility.” McLean v. 988011 Ontario, Ltd., 224

F.3d 797, 801 (6th Cir. 2000) (quoting United States v. L.E. Cooke Co., 991 F.2d 336, 342 (6th

Cir.1993)).

       “[R]ejection of expert testimony is the exception, rather than the rule and we will generally

permit testimony based on allegedly erroneous facts when there is some support for those facts in

the record.” In re Scrap Metal, 527 F.3d at 530 (6th Cir. 2008) (quotation marks omitted).

Accordingly, “Rule 702 should be broadly interpreted on the basis of whether the use of expert

testimony will assist the trier of fact.” Morales v. Am. Honda Motor Co., Inc., 151 F.3d 500, 516

(6th Cir. 1998) (quoting Davis v. Combustion Eng’g, Inc., 742 F.2d 916, 919 (6th Cir. 1984)).

       “A court should not use its gatekeeping function to impinge on the role of the jury or

opposing counsel.” Burgett v. Troy-Bilt LLC, 579 Fed. Appx. 372, 376-377 (6th Cir. 2014).

"’Vigorous cross-examination, presentation of contrary evidence, and careful instruction on the

burden of proof are the traditional and appropriate means of attacking shaky but admissible

evidence.’” Id. (quoting Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596, 113 S. Ct.

2786, 125 L. Ed. 2d 469 (1993)).




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   B. Ms. Carter is a Highly Qualified Expert under the Standards Established by the
      Sixth Circuit

       Methodist’s lead argument is that Ms. Carter “lacks the qualifications necessary to render

her opinions and her opinions will thus not assist this Court.” ECF No. 325 at 10. Methodist claims

that Ms. Carter lacks qualifications to opine on a “multi-hospital affiliation with an oncology

physician practice consisting of more than thirty physicians involving a system-wide, $1.6 billion

oncology service line at multiple hospitals and outpatient locations under five agreements.” Id. at

12. But Methodist’s arguments to minimize Ms. Carter’s qualifications are misleading.

       The core issue in this case is physician compensation, and Ms. Carter has over 40 years of

experience in that field. She has extensive experience consulting and advising hospital systems

larger than Methodist regarding their compensation arrangements with physicians. ECF No. 325-

3 at 32:1-48:22. Methodist claims that Ms. Carter was an employee of KraftCPAs. ECF No. 325

at 6. Yet as Methodist knows, she was not an employee, but rather a partner at Kraft and the

Practice Leader of its Healthcare Industry Group from 2015 through 2022. Kraft is one of the

largest certified public accounting firms in Tennessee with more than 275 employees and offices

in Nashville, Chattanooga, Columbia, and Lebanon.

       During her 46-year career focused on healthcare, Ms. Carter has performed extensive

physician compensation consulting for hospital systems and physician practices, including hospital

systems acquiring physician practices. ECF No. 325-3 at 32:1-48:22. For example, she has

handled extensive valuation work for Ascension Saint Thomas hospital system’s acquisitions of

various physician practices and operations of integrated physician practices. Id. at 37:3-42:24.

Ascension Saint Thomas operates 13 hospitals in Middle Tennessee and is part of Ascension, one

of the largest non-profit hospital systems in the United States with almost 140 hospitals in 19

states. See About Ascension, available at https://about.ascension.org/about-us (last visited May



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24, 2023). She has also consulted on other major acquisitions of physician practices by private

equity. ECF No. 325-3 at 42:3-48:22. With over 40 years of experience as a leading healthcare

consultant and CPA in Tennessee, Ms. Carter is highly qualified to testify as an expert in this case.

       Methodist attempts to argue that Ms. Carter must have experience consulting on hospital-

oncologist alliances factually and financially identical to the transactions between Methodist and

West. But that is not the law of the Sixth Circuit. Ms. Carter offers her expert opinions from her

extensive specialized experience in the field of physician compensation, which is the focus of her

testimony in this case. But even if she had only general knowledge, an expert’s lack of experience

in a particular subject matter does not render her unqualified so long as her general knowledge in

the field can assist the trier of fact. See Surles ex rel. Johnson v. Greyhound Lines, Inc., 474 F.3d

288, 293–94 (6th Cir.2007) (“It is of little consequence to questions of admissibility that Martin

lacked expertise in the very specialized area of commercial bus line threat assessment); Dilts v.

United Grp. Servs., LLC, 500 F. App’x 440, 446 (6th Cir. 2012) (“An expert’s lack of experience

in a particular subject matter does not render him unqualified so long as his general knowledge in

the field can assist the trier of fact.”); First Tenn. Bank Nat’l Ass'n v. Barreto, 268 F.3d 319, 333

(6th Cir.2001) (expert’s unfamiliarity with some specific aspects of the subject at hand “merely

affected the weight and credibility of [the] testimony, not its admissibility”); Smith v. BMW N.

Am., Inc., 308 F.3d 913, 919 (8th Cir.2002) (finding abuse of discretion when the district

court excluded testimony of an expert witness qualified in a general field merely because that

witness lacked expertise more specialized and more directly related to the issue at hand); Morales

v. American Honda Motor Co. 151 F.3d 500, 516 (6th Cir. 1998) (reasoning that “the jury was free

to give [an expert’s] testimony as much credence as it felt the testimony deserved, particularly in

light of Defendant’s cross-examination exposing [his] lack of familiarity with the given




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topics”); Davis v. Combustion Eng’g, Inc., 742 F.2d 916, 919 (6th Cir. 1984) (“Rule 702 should

be broadly interpreted on the basis of whether the use of expert testimony will assist the trier of

fact. The fact that a proffered expert may be unfamiliar with pertinent statutory definitions or

standards is not grounds for disqualification. Such lack of familiarity affects the witness'

credibility, not his qualifications to testify.”).

    C. Ms. Carter May Properly Testify as to Healthcare Industry Standards and Practices

        After attacking her qualifications, Methodist next argues that Ms. Carter has not identified

“what industry standards serve as the foundation of her opinion.” ECF No. 325 at 13. Methodist

cites two cases from New York regarding industry standards to support its position. In Grdinich

v. Bradlees, 187 F.R.D. 77, 81-82 (S.D.N.Y. 1999), the court found that “there really are no so-

called ‘industry standards’” for stacking merchandise at a department store. But in contrast to the

facts in Grdinich, there are extensive industry practices, standards, and publications regarding

hospital-physician relationships and physician compensation, and Ms. Carter’s consulting career

has focused on these fields for over 40 years. Both of Methodist’s experts address customary

healthcare industry practices, and neither expert suggests that there are no standards in the

healthcare industry. See generally ECF No. 323-8 (Mello Expert Decl. and Report); ECF No. 323-

9 (Russo Expert Decl. & Report). Methodist also cites In re Rezulin Prods. Liab. Litig., 309 F.

Supp. 2d 531, 543 (S.D.N.Y. 2004). Yet in that case, the proposed experts “admitted that their

opinions concerning purported ethical standards are based on their personal, subjective views.”

Id. at 543. There is no such admission in this case by the experts for the United States.

        Methodist’s arguments are also contrary to federal case law which endorses expert

testimony based on industry practices. See, e.g., Davis v. Mason County, 927 F.2d 1473, 1485

(9th Cir. 1991) (“Moreover, Fed. R. Evid. 702 permits expert testimony comparing conduct of




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parties to the industry standard”); Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 219 (3d Cir.

2006) (expert’s testimony regarding industry practices would be probative of entity’s scienter at

time of agreement); Vucinich v. Paine, Webber, Jackson & Curtis, Inc., 803 F.2d 454, 461 (9th

Cir. 1986) (expert testimony regarding industry standards are “highly relevant and far from

prejudicial” and the “trial judge apparently confused these rules with federal law, as to which

federal judges are the authority. Not being civil law, these rules were proper matters for expert

testimony. Exclusion was an abuse of discretion”). “Expert testimony on industry standards is

common fare in civil litigation.” Levin v. Dalva Bros., Inc., 459 F.3d 68, 79 (1st Cir. 2006)

(citing Ford v. Allied Mut. Ins. Co., 72 F.3d 836, 841 (10th Cir. 1996); Vann v. City of New York,

72 F.3d 1040, 1049 (2d Cir. 1995); TCBY Sys., Inc. v. RSP Co., Inc., 33 F.3d 925, 928 (8th Cir.

1994)).

      D. Ms. Carter Is Not Offering Opinions Outside Her Area of Expertise

          Methodist next argues that Ms. Carter “testifies outside her area of expertise” in opining

that Methodist made overpayments to West physicians. Methodist argues:

          Ms. Carter asserts that Methodist paid West “in excess of the valuation opinion obtained
          from ECG” because their compensation-to-collections ratio exceeded 1.10. (Carter Rep. at
          8 (Opinions 1(d)(iv) and 2(e), above).) But it is clear from the record that this assertion
          stems from Ms. Carter’s erroneous conclusion that the MGMA median “trigger
          calculation” represents fair market value. (See Carter Dep. 221:14-222:12.)

Methodist’s argument stems from one objective – to prevent the jury from hearing testimony about

Methodist paying the West oncologists tens of millions of dollars above their professional

collections 2 despite the explicit warnings of its own valuation consultant.




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       The term “professional collections” is a physician productivity metric that is commonly
used in the healthcare industry. It measures the collections received for the professional
component of services personally provided by a physician.

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       Methodist criticizes Ms. Carter for concluding that the compensation to collections ratio is

relevant to “fair market value” (“FMV”). Yet Methodist’s criticism is contrary to the core findings

of Methodist’s own valuation report. See generally ECF No. 323-21 (ECG Valuation Report).

       The ECG opinion repeatedly states that it is based on the “central” condition that Methodist

would compensate the West physicians at levels commensurate with their productivity as

measured by their professional collections. “We believe that in principle, physicians should receive

compensation that is generally commensurate with their productivity (in terms of professional

collections), as productivity remains the primary driver of compensation nationally.” Id. at 11. “In

conducting this analysis, we emphasize the principle that physicians should receive compensation

that is generally commensurate with their productivity (in terms of professional collections)…”

Id. at 17. “For physicians with high collections, we generally consider amounts paid at the median

of an imputed compensation-to-collections benchmark to be consistent with FMV, because it

indicates what a physician’s compensation is in relation to his/her collections and is consistent

with that of his/her peers within the specialty on a percentage of collections basis.” Id. at 20.

ECG’s valuation opinion repeatedly states that its report addresses the FMV of Methodist’s

payments to West and the “central” condition of ECG’s opinion about FMV is the physicians’

compensation-to-collections ratio. Id. at 21.

       The methodology of examining the compensation-to-collections ratio is not a “speculative

assumption” or “erroneous conclusion” by Ms. Carter. The ratio is the “central” methodology of

Methodist’s own valuation consultant. As stated by ECG, “[t]he reported benchmark of physician

compensation-to-collections ratio is central in the determination of this FMV opinion…” Id.




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    E. Ms. Carter Is Not Offering Opinions regarding the Legal Effect of a Contract or
       Contract Interpretation

        Methodist claims that Ms. Carter “purports to offer opinions regarding her own contractual

interpretation of the affiliation agreements without linking those interpretations to expertise in

clarifying or defining terms of art, science or trade in the contracts she purports to interpret.” ECF

No. 325 at 16. Methodist cites cases for the proposition that “experts may not testify as to the legal

effect of a contract” and “the interpretation of a contract is an issue of law.” But Ms. Carter is not

offering any opinion as to the legal effect of a contract. In fact, she already confirmed that she is

not offering any “opinions in this case relating to legal interpretation.” ECF No. 325-3 (Carter

Dep.) at 30:8-10. Her report also states: “I do not have opinions on legal issues related to liability.”

ECF No. 324-1 at 2.

        In challenging Ms. Carter’s opinion that Methodist made duplicative payments to West

regarding the nurse practitioners, Methodist argues that her opinion rests “almost entirely” on a

“clearly erroneous legal interpretation” of a provision in the PSA. But once again, Methodist’s

argument is misleading. Her report states in pertinent part:

        The nurse practitioners and physician assistants were leased to Methodist and paid by
        Methodist under the LEA. I understand from the Expert Report of Timothy Smith, that
        from 2012 through 2017, Methodist also paid TWC for 65,759 wRVUs (reference expert
        report by Timothy Smith) generated by nurse practitioners and a physician assistant.
        Methodist paid TWC for these nurse practitioners and physician assistant at the rate of the
        medical oncologists’ wRVUs, which was $145 per wRVU. The excess lease payments
        totaled $10 million. (Exhibit VII)

Id. at 9. In other words, Methodist paid West for wRVUs that West-employed nurse practitioners

performed while at the same time, Methodist reimbursed West for the salaries and benefit costs of

these nurse practitioners, thereby creating a financial windfall for West. Id. at 8-9. Through

detailed forensic accounting analyses of payroll records and itemized invoices, the United States’

experts identified and quantified Methodist making duplicative payments to West for the same



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services. Ms. Carter’s opinion is not based on any “legal interpretation” of a contract as Methodist

argues to the Court. Rather, her opinion is based on the fundamental position that duplicative

payments are overpayments that exceed the FMV ranges provided by Methodist’s own valuation

consultants.

       Methodist also argues that “in numerous instances, Ms. Carter rests her opinion entirely on

interpretations of contractual provisions rather than on industry custom, which constitutes

impermissible opinion testimony.” ECF No. 325 at 18. But in reality, Ms. Carter is offering her

opinion that fundamental healthcare industry practices require parties to follow the terms of a

contract when relying on FMV valuation opinions based on assumptions from those contractual

terms. There is nothing controversial or novel about this opinion based on her 46 years of

experience in the healthcare industry.

   F. Methodist’s Attacks on Ms. Carter’s Methodology Are Misguided

       In the final section of Methodist’s motion, Methodist claims that Ms. Carter’s opinions are

“not the product of reliable methods, reliably applied.” ECF No. 325 at 21. Methodist identifies

seven opinions that “should be struck.” Each of these seven “opinions” is addressed below.

       1. Ms. Carter Followed the Same Methodology as Methodist’s Own Valuation
          Consultant in Examining the Compensation to Collections Ratios for West
          Oncologists

       Methodist claims that Ms. Carter’s opinion that Methodist paid “amounts under the PSA

in excess of the valuation opinion obtained from ECG” should be struck. However, Methodist

fails to inform the Court that Ms. Carter’s methodology is the same as Methodist’s own valuation

consultant ECG which examined the ratio between West physicians’ compensation and their

professional collections. “The Rule 702 inquiry is a flexible one and its focus must be solely on

principles and methodology, not on the conclusions they generate.” Superior Prod. P’ship,



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784 F.3d at 323 (internal citations omitted) (quoting Lee v. Smith & Wesson Corp., 760 F.3d 523,

526 (6th Cir. 2014) (quoting Daubert, 509 U.S. at 595)).           The methodology of physician

compensation-to-collections ratios is well-established and standard in the healthcare industry for

valuations of physician compensation.

       As discussed above, despite ECG providing an opinion that repeatedly stated the West

physicians should be paid at levels commensurate with their professional collections, Methodist

proceeded to pay the West oncologists at levels approximately $60 million above their

professional collections between 2012-2018. ECF No. 324-1 at 8, 20. Ms. Carter provides a

calculation of how much Methodist paid the West oncologists above their professional collections.

In performing this calculation, Ms. Carter used the professional collections verified as accurate by

Methodist in discovery. Id. at 20.

       Methodist quibbles over whether Ms. Carter should apply the national median

compensation to collections ratio for each year. But according to MGMA Surveys, the national

median compensation to collections ratio for hematologists/oncologists was 1.10 in 2011, 1.10 in

2012, 1.13 in 2013, 1.10 in 2014, 1.24 in 2015, 1.43 in 2016, 1.22 in 2017, and 1.34 in 2018. No

matter which year of the national median compensation to collections is applied, Methodist still

paid West oncologists tens of millions of dollars above their professional collections and tens of

millions of dollars above the national median compensation to collections ratios. And this is

properly an argument for the weight of her testimony at trial, not its threshold admissibility.

       To understand Ms. Carter’s calculations, a brief review of the history on this issue is

important. The ECG opinion required Methodist to verify the compensation to collections ratios

for each West specialty at the end of 2013. Methodist failed to do that, ECF No. 328-1 at 18-20,

and Methodist does not argue to the contrary in any of its briefs. Instead, mid-way through 2013 in




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June, Methodist and West leaders falsely manipulated both the numerator and denominator of the

compensation to collections ratio to reach a calculation that was ostensibly under the threshold

allowed by ECG. See generally ECF No. 367-1 (June 2013 meeting minute notes and attachments).

       In June 2013, Methodist and West leaders used the amount of $18.49 million as the

oncologists’ professional collections for 2012. Id. Yet in discovery Methodist repeatedly changed

its answers about the amount of West’s professional collections and ultimately admitted that the

West oncologists’ professional collections were $16.74 million in 2012, not $18.49 million. ECF.

No. 352-2 at 22-23. With respect to compensation for the oncologists in 2012, Methodist and West

leaders used the bogus number of $21.07 million. See ECF No. 367-1 at 12. This number was

nearly $3 million below their actual compensation of $23.93 million. The compensation could be

easily determined and verified by Methodist executives who received and paid the invoices from

West each month. Each invoice itemized the amounts billed for the West oncologists. Yet

Methodist executives chose to use a compensation number $3 million less than the amounts that

they knew were paid.

       After their manipulation of financial data in June 2013, Methodist’s executives continued

approving payments for West oncologists at levels millions of dollars above their professional

collections. Despite the requirement in ECG’s valuation opinion that Methodist obtain a new

valuation opinion at the end of 2013, Methodist failed to do so and did not obtain any new valuation

opinion until 2016 when it went back to ECG and engineered a new valuation opinion that ignored

the elephant in the room – Methodist’s ongoing payments millions of dollars above the West

oncologists’ professional collections. See ECF No. 346 (U.S. Counter-Statement of Material

Facts), ¶¶ 67.




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         In August 2021, Relators served their First Interrogatories to Methodist with specific

questions about the professional collections for West oncologists in each of the years 2012-2018.

Originally in response to Relators’ Interrogatory No. 7, on September 1, 2021, Methodist stated

the amounts of the West oncologists’ professional collections. Then on October 20, 2021,

Methodist changed its answers and served “Supplemental Responses” with different professional

collections for each of the years 2012-2018. Then on July 14, 2022, Methodist served “Amended

Supplemental Responses” and changed their answers, yet again, regarding the amounts of

professional collections for West oncologists. ECF No. 353-2 at 22-23. At his deposition,

Methodist’s former CFO Chris McLean admitted that Methodist’s responses to the interrogatories

regarding West’s professional collections changed by $19.7 million dollars. ECF No. 367-3

(McLean Dep. Vol I.) 338: 10-15.

         Methodist’s “Amended Supplemental” responses in effect admitted that the professional

collections used by Methodist/West executives at their meeting in June 2013 to address compliance

with ECG’s valuation opinion were inaccurate and inflated. Methodist’s “Amended Supplemental

Responses” also in effect admitted that during the years 2012-2018, Methodist paid the West

oncologists at levels approximately $60 million above their professional collections. ECF No.

353-2 at 22-24 (stating collections amounts); See ECF No. 346 (U.S. Responses to Statement of

facts), ¶¶ 47, 214 (describing overpayment approximately of $60 million and the basis for that

number).

         Then over six months after the close of discovery, 3 Methodist submitted an “expert” report

of Gregory Russo in which he provides new and different amounts for the West physicians’




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 The Seventh Case Management Order confirms that fact discovery “closed on September 23,
2022. ECF No. 298 at 2.


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professional collections for each of the years 2012-2018. Mr. Russo’s Report begins with the

statement:

       I have been retained by Bass, Berry & Sims PLC (“Counsel”) on behalf of its clients
       Methodist Le Bonheur Healthcare and Methodist Healthcare-Memphis Hospitals
       (collectively, “Methodist”), to analyze data whereby I could identify the total
       collections and professional collections associated with The West Clinic, PLLC
       (“West”) and its practitioners.

ECF No. 323-9 at 3.

       Despite having already provided verified answers in discovery regarding the amounts of

West oncologists’ professional collections, Methodist retained an expert witness to calculate

different amounts that would only be disclosed months after the discovery period ended. But even

under Mr. Russo’s new calculations, Methodist’s payments to the West oncologists were still

nearly $60 million above their professional collections. Compare ECF. No. 323-9 at 13 (Russo

Table 6 – Actual and Estimated Professional Collections) (purporting to show somewhat higher

collections than previously disclosed by Defendant) with ECF No. 353-2 at 22-24 (Amended

Supplemental Interrogatory Responses).

       In addition, six months after the close of discovery, on March 1, 2023, Methodist has, yet

again, amended its answers to Relator’s First Interrogatories and changed its answers regarding

the amounts of West’s professional collections to match Mr. Russo’s report and opinions. See

ECF No. 352-8 at 22-23.

       In her Report, Ms. Carter used the amounts of professional collections provided by

Methodist in their “Amended Supplemental Responses” during the discovery period. Thus, Ms.

Carter’s calculations of Methodist’s overpayments are based on the exact amounts of professional

collections that Methodist certified were accurate after twice amending their original answers

during discovery. Yet after Ms. Carter submitted her report on February 21, 2023, on March 1,




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2023, Methodist changed its answers about the amounts of West professional collections yet again.

ECF No. 352-8 at 22-23.

       Now, Methodist argues that Ms. Carter may not offer opinions about Methodist’s

overpayments to West oncologists at levels tens of millions of dollars above their professional

collections, because she is “not qualified to opine on fair market value.” ECF No. 325 at 16.

Methodist is attempting to prevent Ms. Carter from assisting the jury in understanding the technical

financial data on the highly relevant issue of the oncologists’ compensation to collections ratios.

To offer such opinions, she need not conduct an independent fair market valuation. Rather she is

addressing the warnings and notice Methodist received from its own valuation consultants.

       Methodist is off base in suggesting that Ms. Carter’s opinion will not assist the trier of fact

in assessing whether Methodist’s payments to West violated the conditions of its own FMV

opinions. And federal courts have repeatedly recognized the importance of evidence of warnings

or notice that a defendant received prior to proceeding with an illegal course of conduct.

       In U.S. ex rel. Drakeford v. Tuomey, the Fourth Circuit addressed the admissibility of a

consulting attorney’s warnings to a hospital system “that it would be very hard to convince the

government that a contract that paid physicians ‘substantially above even their collections, much

less their collections minus expenses,’ would constitute fair market value.” 792 F.3d 364, 377 (4th

Cir. 2015). “According to [the attorney consultant], compensation arrangements under which the

contracting physicians are paid in excess of their collections were “basically a red flag to the

government.” Id. The Fourth Circuit found the importance of such testimony to the government’s

case “self-evident” and “compelling.” Id.

       Similarly, the Eleventh Circuit refused to exclude expert testimony as to what the

defendants were “told about the legality of their scheme” in United States v. Gish, 518 Fed. Appx.




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871, 875 (11th Cir. 2013). The Eleventh Circuit distinguished such testimony from “what

defendants thought about that advice” or “any other state of mind they might have had at time.” Id.

(“Expert evidence that supports an inference as to the defendants’ intent or other state of mind is

not barred so long as it leaves that inference to the jury to draw.”).

       Courts within this Circuit have reached similar conclusions. For example, in Schall v.

Suzuki Motor of America, Inc., a product liability case, the court permitted plaintiff’s expert to

testify as to “what [defendant] knew and when it knew it to assist a jury in understanding whether

Defendants’ actions were reasonable.” 2020 WL 1159757 at *5 (W.D. Ky. Mar. 10, 2020); see

also In re Yamaha Motor Corp. Rhino ATV Prod. Liab. Litig., 816 F. Supp. 2d 442, 459 (W.D.

Ky. 2011) (specifically permitted expert to testify as to “what Yamaha knew and when.”).

       Similar to the facts in Tuomey, on the eve of the implied “partnership” between Methodist

and West, Methodist’s consultants at ECG warned Methodist that payments to West that were not

commensurate with their professional collections would exceed fair market value and would

violate ECG’s valuation opinion.

       2. Ms. Carter’s Opinion that Methodist Made Duplicate Payments to West for the
          Nurse Practitioners

       As discussed above, Methodist paid West for wRVUs that West-employed nurse

practitioners performed while at the same time, Methodist reimbursed West for the salaries and

benefit cost of these nurse practitioners, thereby creating a financial windfall for West. ECF No.

324-1 at 9. Ms. Carter identified and quantified Methodist making duplicative payments to West

for the same services.

       Ms. Carter’s opinion is not based on any “erroneous interpretation” of the PSA as

Methodist argues. Rather, her opinion is based on the fundamental position that duplicative

payments are overpayments that exceed the fair market value ranges provided by Methodist’s own


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valuation consultants. Methodist quibbles with Ms. Carter’s calculation and evaluation of whether

all of the nurse practitioners generated wRVUs. Methodist is free to cross-examine Ms. Carter at

trial on this point, and none of Methodist’s challenges now should bar Ms. Carter’s opinion on this

critical issue that will assist the trier of fact in understanding Methodist’s duplicate payments to

West.

        3. Ms. Carter Opinion that Methodist Overpaid West by $2.4 Million in Excess of
           the Asset Valuation

        At her deposition, Ms. Carter stated her opinions that Methodist failed to obtain a valuation

of its meaningful use payments to West and Methodist failed to require West to repay the

meaningful use balance of payments owed back to Methodist the end of 2014 as required by the

Asset Purchase Agreement. ECF No. 325-3 (Carter Dep.) at 175:2-9. 4 Methodist now attempts

to impeach Ms. Carter with arguments that West actually did repay some of the meaningful use

overpayments back to Methodist – albeit belatedly. Such questions go to the weight, but not

admissibility of, Ms. Carter’s opinion, which is based on fundamental industry practices to obtain

appropriate valuations before making payments to physicians and to timely require refunds of

overpayments.

        4. Ms. Carter’s Opinion that Methodist Overpaid West for Wings Personnel

        Wings Cancer Foundation was a separate organization with employees unrelated to the

Methodist oncology service line. Nevertheless, West billed Methodist for the salaries and benefits

of Wings employees under the Leased Employee and Administrative Services Agreement with




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  The meaningful use payments were an incentive program whereby CMS paid physicians for
achieving certain metrics related to electronic health records. ECF No. 325-3 (Carter Dep.) at
177:1-5.


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Methodist. Thus, Methodist made payments to West for personnel who were not leased to

Methodist.

         Methodist now apparently claims that West reimbursed Methodist for these improper

payments. But Methodist’s sloppy accounting – not Ms. Carter’s report – has created this

controversy. Methodist counsel showed Ms. Carter some accounting records from one quarter of

2014 and apparently attempts to argue that for the entire 8-year duration of the affiliation with

West, West repaid Methodist for these improper payments. Methodist does not challenge the

methodology of Ms. Carter’s opinion on this fundamental point that Methodist should not pay

West for personnel who are not leased to Methodist. Thus, Methodist’s challenge only relates to

the weight and not admissibility of this testimony.

         5. Ms. Carter’s Opinion that West Received Rent for Subleased Oral Pharmacy
            Space

         The controversy over this issue stems from Methodist’s own failure to enter a sublease

with West for dual use assets as required by the Asset Purchase Agreement (“APA”). Methodist

also failed to obtain an FMV for the dual use assets that were to be subleased by West as required

by the APA. ECF No. 324-1 at 6.

         Methodist’s former CFO McLean claims that he did an informal annual “reconciliation”

process regarding West’s “dual use” assets, however, this process was contrary to the APA’s

requirement that Methodist and West enter into a separate lease agreement and obtain an

independent FMV. 5



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       Under the APA, “Certain of Seller’s assets are used in the operation of the Practice at
Cancer Center Sites and at other locations of Seller or for cardiology or general practice
administration purposes (‘Dual Use Assets’). Buyer will lease all Dual Use Assets to Seller at fair
market value terms pursuant to a separate lease agreement between Seller and Buyer.” ECF No.
323-13 at 6 ¶ 2.4. Despite this contractual requirement, Methodist never obtained a fair market


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       The methodology of Ms. Carter’s opinion on this point is based on the contractual terms

between the parties and the fundamental requirement for Methodist to have a separate sublease

with West for dual use assets and obtain a fair market valuation. Methodist does not challenge

that methodology, but simply argues that its informal reconciliation process was sufficient.

Methodist’s argument again is not a proper challenge to Ms. Carter’s methodology and is instead

an issue for the weight of her testimony at trial.

       6. The Issue of West Not Becoming Employees of Methodist

       Methodist challenges Ms. Carter’s supposed opinion that West not becoming employees

of Methodist “was outside the course of normal healthcare industry practices.” ECF No. 325 at

24. Yet Ms. Carter did not offer that opinion. Her report simply states, “Where a hospital and

physician practice integrate it often involves physicians becoming employees of the hospital.”

ECF No. 324-1 at 6. Thus, Methodist’s argument on this issue is moot.

       7. The Issue of West Not Investing in the Cancer Center

       Finally, Methodist challenges Ms. Carter’s supposed opinion that the PSA and MSA “are

outside the course of normal industry healthcare practice because they do not require West to

provide ‘any financial investment’ in the Cancer Center.” ECF No. 325 at 24. But again, Ms.

Carter did not offer that opinion. Her report simply states that the MSA and PSA did not require

West to provide any financial investment to achieve the vision of the cancer center. ECF No. 324-

1 at 6-7. In this section of her report, she lists numerous examples of Methodist not complying

with the requirements of the contracts with West, including the following:

           •   Methodist failed to enter into a sublease with West for dual use assets as required
               by the Asset Purchase Agreement.



opinion regarding West’s dual use assets. Nor did Methodist enter into a separate lease agreement
with West regarding dual use assets.


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             •   Methodist failed to obtain a fair market valuation for the dual use assets that were
                 to be subleased by West.
             •   Methodist failed to amend the MSA to remove sites for which West did not provide
                 management services.
             •   Methodist failed to amend the MSA or PSA to include additional locations where
                 West provided services.
             •   Methodist failed to pay West in compliance with the central condition of the ECG
                 valuation.
             •   Methodist failed to obtain fair market valuations for the amounts paid the
                 Administrator and Medical Directors under the MSA.
             •   Methodist failed to obtain fair market valuations for employees leased from West
                 to Methodist.
             •   Methodist failed to obtain a separate lease for employees leased by Methodist to
                 West.
             •   Methodist failed to require West to keep any time records of management services.
             •   Methodist allowed West to set its own benchmarks for performance incentives
                 under the MSA without any clinical input from Methodist.
             •   Methodist allowed West to approve payments Methodist made to West for
                 performance incentives.

Id. at 6-7. None of these opinions is based on Methodist not requiring West to invest in the cancer

center.

                                      V.      CONCLUSION

          The United States respectfully submits that Methodist’s Motion to exclude portions of Ms.

Carter’s proposed testimony should be denied in its entirety.

                                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2023, a true and correct copy of the foregoing was served
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